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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, et al.,
                                                CIVIL ACTION FILE
Plaintiffs,
                                               NO. 1:17-CV-02989-AT
v.

BRIAN KEMP, et al.,

Defendants.


                                   ORDER

      THIS MATTER coming before the Court on the Motion of the State

Defendants seeking leave to file a Brief In Support Of Their Response to both

of the Curling Plaintiffs’ and the Coalition Plaintiffs’ Motions for Preliminary

Injunction in excess of 25 pages and up to and including 30 pages, the Court

being advised of the premises, IT IS HEREBY ORDERED THAT:

      The motion is GRANTED.

      SO ORDERED this _____ day of ____________________, 2018.



                                    ______________________________________
                                    Amy Totenberg
                                    United States District Judge
